Case 15-43536-mxm13 Doc 66 Filed 03/30/17                Entered 03/30/17 14:39:53          Page 1 of 3



Marcus Leinart
State Bar No. 00794156
Leinart Law Firm
11520 N. Central Exprwy, Ste 212
Dallas, TX 75243
469.232.3328 Phone
214.221.1755 Fax
ATTORNEY FOR DEBTORS


                         IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

IN RE:

IZISHILL BOLDON, JR XXX-XX-4333                                 Case No. 15-43536-MXM-13
LATANYA ACY BOLDON XXX-XX-9495
                                                                Chapter 13
Address:5612 BAY CLUB DRIVE
Address: ARLINGTON, TX 76013
       Debtor(s)                                                 Judge MARK X. MULLIN

         DEBTOR'S MODIFICATION OF CHAPTER 13 PLAN POST-CONFIRMATION

                               MODIFICATION DATE: March 24, 2017

Language in italicized type in this Plan Modification shall be as defined in the General Order 2016-01,
Standing Order Concerning Chapter 13 Cases and as it may be superseded or amended (General Order).
All provisions of the General Order shall apply to this Plan Modification as if fully set out herein.

Pursuant to 11 U.S.C. §1329 the Debtor requests the following modification(s) to the Debtor's original or
last modified Chapter 13 Plan.


                                            SECTION I
                                       HISTORY OF THE CASE

A.       Total Paid In (Received to Date):              $ 46,850.00_________________
         Amount Due to be Current:                      $_________________
         Base Amount (Current):                         $ _78,625.00________________

         Date of Calculation for Modification: March 24, 2017

B.       Current Plan Payment to Trustee Amounts and Term:
         Start Date     Number Periods                Amount
         10/01/2015         12                        $1,510.00
         10/01/2016         1                         $27,100.00
         11/01/2016         47                        $775.00
Case 15-43536-mxm13 Doc 66 Filed 03/30/17                      Entered 03/30/17 14:39:53                Page 2 of 3



                                                SECTION II
                                               MODIFICATION

A.      Reason for modification (MUST BE COMPLETED)

        ________ (1) To cure Plan arrears to the Trustee.
        ___X_____ (2) To provide or modify treatment for Secured, Priority or Unsecured claim
                      not previously provided.
        ________ (3) To provide for payment to the Mortgage Lender through the Conduit Program.
        ________ (4) To make Plan sufficient (based on allowed claims).
        ________ (5) To modify the Unsecured Creditors' Pool from $_______ to $________.
        ________ (6) To modify the value of non-exempt property from $_____ to $_______.
        ________ (7) To set aside Interlocutory Order.
        ____X____ (8) Other: _Add arrears per AO. Not a conduit.

B.      New Plan Payment to Trustee Amount and Term:

        The plan payment amount will be changed to $ (new monthly pmt. amt.) PER MONTH TO THE
        TRUSTEE:

        *Start Date       Number Periods                      Amount
        04/01/2017              3                             $775.00
        07/01/2017              39                            $935.00

        NEW BASE AMOUNT: $85,640.00_____________

        *DEBTOR'S NEW PAYMENT START DATE MAY NOT BE MORE THAN THIRTY (30)
         DAYS FROM THE DATE OF THIS PLAN MODIFICATION.

C.      BRINGING THE DEBTOR INTO THE CONDUIT PROGRAM (IN CASES FILED ON OR AFTER
        OCTOBER 1, 2016)


D.     PROVIDE FOR OR MODIFY TREATMENT OF SECURED CLAIMS TO:

       P/M       Creditor Name        Claim Amount Descr. of Collateral          Value       Int. Rate Treatment
                                                                                              ($/Mo; Pro Rata; Dir.; Surr)
        _P_     Bank of America_ $_5,176.47___ _4107 Bent Oak___ $133,900.00 ____%                _pro-rata________


The automatic stay shall be terminated and the Trustee shall cease disbursements on any secured claim which is
secured by the Surrendered Collateral (Surr), without further order of the court, pursuant to General Order 2016-01,
paragraph 8.

E.      PROVIDE FOR OR MODIFY TREATMENT OF PRIORITY CLAIMS TO:

F.      Debtor's Counsel fee for this modification:

        Total amount of $400.00, of which $400.00 will be disbursed by the Trustee according to the
        Order of Payment set out in the confirmed Plan or last subsequently approved Plan
        Modification.
Case 15-43536-mxm13 Doc 66 Filed 03/30/17                  Entered 03/30/17 14:39:53           Page 3 of 3



                                              SECTION III

ALL OTHER PROVISIONS AS SET FORTH IN THE LAST CONFIRMED PLAN OR
SUBSEQUENTLY APPROVED PLAN MODIFICATION REMAIN THE SAME.



Date: March 24, 2017             _/s/ Marcus Leinart____________________
                                         Marcus Leinart
                                         State Bar No. 00794156
                                         Leinart Law Firm
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                                         Dallas, TX 75243
                                         469.232.3328 Phone
                                         214.221.1755 Fax
                                         ATTORNEY FOR DEBTORS




                                     CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that a copy of the foregoing DEBTOR'S MODIFICATION OF
CHAPTER 13 PLAN AFTER CONFIRMATION was served upon the Debtor(s) and the parties listed
below by or under the direction of the undersigned by United States First Class Mail, postage paid, and
electronically by the Clerk and all other parties entitled to electronic notice on the date of filing hereof:
(List)

Dated: March 24, 2017                                     /s/ Marcus Leinart
